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UNITED STATES DISTRICT COURT                       EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA,                      '
                                               '
                      Plaintiff,               '
                                               '
v.                                             '          NO. 1:16-CR-13(1)
                                               '
JUAN DUQUE-TINOCO,                             '
                                               '
                      Defendant.               '

        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal

Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on Guilty

Plea Before the United States Magistrate Judge. The magistrate judge recommended that the

court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Count One of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s plea but defers acceptance of the plea

agreement until after review of the presentence report.

       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, Juan Duque-Tinoco, is
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adjudged guilty as to Count One of the Indictment charging a violation of 21 U.S.C. § 846

(Conspiracy to Possess with Intent to Manufacture and Distribute Actual Methamphetamine).
           .
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 28th day of February, 2017.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE
